                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  NO. 3:13-CV-196


 U.S. COMMODITY FUTURES TRADING
 COMMISSION,

                Plaintiff,

         vs.                                              ORDER APPROVING RECEIVER’S
                                                         FINAL REPORT AND ACCOUNTING
 JAMES HARVEY MASON,                                        AND DISMISSING RECEIVER

                Defendant,

 JHM Forex Only Pool and
 Forex Trading At Home,

                 Relief Defendants.

       This matter having come on for consideration of Receiver’s Motion for Approval of Final

Receiver’s Report, Accounting and Dismissal of the Receiver (the “Motion”) filed herein on

March 8, 2016 (DE 179) by Joseph W. Grier, III, as receiver (the “Receiver”) for the assets of

James Harvey Mason (“Defendant”), The JHM Forex Only Pool (f/k/a The JHM Forex Only

Pool, LP), Forex Trading at Home (the “Relief Defendants”), and, pursuant to the Order to

Clarify the Scope of the Receivership Estate to Include Certain Trust Assets, The JHM Trust; and

after distribution of assets by the Receiver. The Court finds that it has jurisdiction over this

matter; that due and proper notice of the relief requested was given; that the Receiver filed his

Receiver’s Final Report and Accounting on September 15, 2016 showing that all Receivership

funds, after payment of allowed administrative costs and expenses, have been distributed, and

that final tax returns have been prepared and filed.




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       WHEREFORE IT IS ORDERED, DECREED AND ADJUDGED: that the Receiver shall

be and is dismissed, books and records of Receivership Entities may be destroyed, and the

Receiver shall be relieved of liability for any and all taxes, interest, and penalties in or on account

of or alleged in any manner to be due by Receivership Entities or the Receiver.


SO ORDERED.

                                                Signed: September 15, 2016




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